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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 EMPOWER TEXANS, INC., Brandon C.              §
 Waltens, and Destin R. Sensky,                §
 Plaintiffs,                                   §       CASE NO. 1:19-CV-422-LY
                                               §
 v.                                            §              NOTICE OF APPEAL
                                               §
 Charlie L. GEREN, in His Official Capacity    §
 as Chairman of the Committee on House         §
 Administration of the Texas House of          §
 Representatives,                              §
 Defendant.                                    §


Notice is hereby given that Empower Texans, Inc., Brandon C. Waltens, and Destin R. Sensky,

Plaintiffs in the above-named case, hereby appeal to the United States Court of Appeals for the

Fifth Circuit from the Memorandum Opinion and Order Granting Motion to Dismiss and the Final

Judgment entered in this action on the 23rd day of May, 2019.

                                         Respectfully submitted this 21st day of June 2019,

                                         By: __/s/ Tony K. McDonald_______________
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                                  CERTIFICATE OF SERVICE
I certify that on June 21, 2019, I electronically submitted the forgoing document with the Clerk

of the Court for the U.S. District Court for the Western District of Texas, using the CM/ECF

system of the Court. The electronic case filing system sent “Notice of Electronic Filing” to

individuals who have consented in writing to accept this notice of service by electronic means. I

also certify that I sent a copy of this document to counsel for Defendant by electronic mail:

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June 21, 2019

                                          /s/ Tony K McDonald
                                          Tony K McDonald
                                          Counsel for Plaintiff
